Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 1 of 7

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

JACQULYN M. THOROUGHGOOD

Plaintiff Case Number:

VS.

COOPERATIVE COMMUNICATIONS,
INC.
JURY TRIAL DEMANDED

)
)
)
§
) CIVIL COMPLAINT
)
)
)
Defendant )
)

 

COMPLAINT AND JURY DEMAND
COMES NOW, Plaintiff, Jacqulyn M. Thoroughgood, by and through her undersigned
counsel, Bruce K. Warren, Esquire of Warren LaW Group, PC, complaining of Defendant, and

respectfully avers as follows:

I. INTRODUCTORY STATEMENT
1. Plaintiff, Jacqulyn M. Thoroughgood, is an adult natural person and she brings
this action for actual and statutory damages and other relief against Defendant for violations of
the Telephone Consumer Protection Act of 1991 47 U.S.C. § 227 (“TCPA”) Which restricts
telephone solicitations (e.g. telemarketing) and the use of automated telephone equipment
Without the recipient giving prior express consent, as Well as lnvasion of Privacy by Intrusion

upon Seclusion by intruding on one’s personal life Without just cause.

IL J_lB_I_SM
2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1337.

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 2 of 7

3. Venue in this District is proper in that Plaintiff resides in this district.

III. PARTIES

4. Plaintiff, Jacqulyn M. Thoroughgood, (hereafter, Plaintiff) is an adult natural
person residing in Philadelphia, PA. At all times material and relevant hereto, Plaintiff is a

“consumer” as defined by the Telephone Consumer Protection Act of 1991 47 U.S.C. § 227.

5. Defendant, Cooperative Communications, Inc. (hereafter, Defendant), at all times
relevant hereto, is and Was a NeW Jersey corporation/ lntegrated Comrnunications Provider (lCP)
engaged in the business of selling and offering, through the act of telemarketing, end-to-end
voice, data, Internet, and enhanced broadband solutions, Within the Comrnonwealth of

Pennsylvania and the State of NeW Jersey With a primary address located at 210 Clay Avenue,

Lyndhurst, NJ 07071.

IV. FACTUAL ALLEGATIONS

6. On or about January 14, 2013, Plaintiff started receiving several calls per day to

her home phone from the Defendant.

7. Plaintiff is on the “do not call” list.

8. Defendant has been calling from the following telephone numbers (210)-857-
1142, (908)302-1877, (732)357-8096 since that time.

9. All of Defendant’s calls are computer generated

10. The Defendant at no time identifies Who they are as is required by anyone using

an auto dialer or an artificial or prerecorded voice message to call any number.

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 3 of 7

11. Defendant’s calls are never transferred to a live person giving the Plaintiff the
opportunity to ask that the calls be stopped

12. Plaintiff has attempted to call back all of Defendant’s incoming numbers, but
receives computer generated messages stating that the “mailboxes are full” or that they are “non-
working numbers”.

13. Defendant has called Plaintiff from the following number(S), on the following

dates and times:

§2()1)857-1142
- 1/14/13-11:06am,8:18pm

- 1/15/13 -10:48am, 6:32pm
- 1/16/13-10:18am,5:09pm
- 1/17/13 -12:53pm, l:40pm, 6:01pm

1732) 357-8096
- 1/18/13 - 9:25am, 12:00pm

§908) 302-1877
- 1/19/13 ~ 9:58am,11:27am

- 1/20/13 - 11:43am, 12:24pm, 1:28pm, 4:33pm
- 1/21/13 - 7:41pm, 8:23pm, 8:30pm

- 1/22/13 - 8215am, 2:23pm

- 1/23/13 - l:44pm, 3:40pm, 7:14pm

- 1/24/13 -11:41am, 6:46pm

- 1/25/13 - 5:47pm

- 1/29/13 - 3:3()pm

- 1/30/13 -10:19am, 7:51pm

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 4 of 7

14. As a direct consequence of the Defendant’s acts, practices and conduct, the
Plaintiff suffered and continues to suffer from anger, anxiety, emotional distress and frustration

15. The Defendant knew or should have known that their actions violated the TCPA.
Additionally, Defendant could have taken the steps necessary to bring their and their agent’s
actions within compliance of the TCPA, but neglected to do so and failed to adequately review
those actions to insure compliance with the law.

16. At all times pertinent hereto, Defendant was acting by and through their agents,
servants and/or employees, who were acting with the scope and course of their employment and
under the direct supervision and control of Defendant herein.

17. At all times pertinent hereto, the conduct of Defendant, as well as their agents,
servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiff herein.

COUNT I -TCPA
18. The above paragraphs are hereby incorporated herein by reference.
19. At all times relevant hereto, Defendant unlawfully, intentionally and fraudulently
violated the TCPA, 47 U.S.C. §227 et. seq. and 47 C.F.R. 64.1200 et. seq.
2(). The foregoing acts and omissions constitute violations of the TCPA, including but
not limited to:
a. using an automatic telephone dialing system that had
capacity to store or produce telephone numbers using random or
sequential number generation and dialed the telephone number

associated with the Plaintiff;

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 5 of 7

to initiate telephone calls to Plaintiff s telephone using

artificial and prerecorded voice to deliver a message without the

prior consent of the Plaintiff;

to initiate communication to the Plaintiff using an

automatic dialer that was not in compliance with the technical and
procedural standards set forth by the TCPA;

to initiate any telephone call to any residential telephone line using an
artificial or prerecorded voice to deliver a message without the prior
express consent of the called party, unless the call is initiated for
emergency purposes or is exempted by rule or order by the Commission

under paragraph (2)(13);

WHEREFORE, Plaintiff respectfully requests that this court enter judgment in her favor

and against Defendant, and Order the following relief:

21.

b.

21.

22.

Actual damages;
Statutory damages;
Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k; and

Treble damages

trw

INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
The above paragraphs are hereby incorporated herein by reference

The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes. . .upon the solitude or seclusion of another, or his private affairs

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 6 of 7

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be
highly offensive to a reasonable person.”

23. Pennsylvania recognizes Plaintiff’ s right to be free from invasions of privacy, thus
Defendant violated PA state law.

24. Defendant intentionally intruded upon Plaintiff`s right to privacy to be continually
harassing Plaintiff with frequent telephone calls, abusing Plaintiff.

25. The telephone calls made by Defendant to Plaintiff were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff,” and “a substantial
burden to his existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement
for an invasion of privacy.

26. The conduct of Defendant in engaging in the illegal collection activities resulted
in multiple invasions of privacy in such a way as would be considered highly offensive to a
reasonable person.

27. As a result of the intrusions and invasions, Plaintiff is entitles to actual damages
in an amount to be determined at trial from Defendant.

28. Defendant’s acts were reckless, willful, and intentional and/or were done with
knowledge of their harmful effects towards Plaintiff and as such Defendant is subject to punitive
damages

WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant for the following:

a. Actual damages pursuant to 15 U.S.C. § l692k(a)(l) and O.R.C. § 1345.09(A);

b. Statutory damages pursuant to 15 U.S.C. § 1692k;

c. Reasonable attorney’s fees and litigation expenses, plus costs of suit;

Case 2:13-cv-01134-.]D Document 1 Filed 03/04/13 Page 7 of 7

d. Three times the amount of Plaintiff s actual damages or two hundred dollars,
whichever is greater, pursuant to O.R.C. § 1345.09(B);

e. Actual damages from Defendant for all the damage including emotional distress
suffered as a result of the intentional, reckless, and/or negligent FDCPA
violations and intentional, reckless, and/or negligent invasions of privacy in an
amount to be determined at trial for Plaintiff;

f. Punitive damages; and

g. Such additional and further relief as may be appropriate or that the

interests of j ustice require.

V. JURY DEMAND

Plaintiff hereby demands a jury trial as to all issues herein.

Respectfully submitted,

WARREN LAW GROUP, P.C.

  

Date: February 4, 2013 BY: /s/ vii rren bkw4066
Bruce K. Warren, Esquire

Warren Law Group, PC

58 Euclid Street

Woodbury, NJ 08()96

P: (856)848-4572

F: (856)324-9081

Attorney for Plaintiff
bruce@warren-lawfirm.com

